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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

VLADEK FILLER                               )
                                            )
              Plaintiff,                    )
v.                                          )       CIVIL ACTION
                                            )       CASE NO. 1:15-cv-00048-JAW
HANCOCK COUNTY, et al.,                     )
                                            )
                                            )
              Defendants                    )




     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO 41(a)(1)(A)(ii)

      NOW COME all appearing parties in the above-captioned litigation and Stipulate to the
Dismissal of all claims with prejudice, and without costs, interest or attorney’s fees, against
Hancock County, William Clark, Washington County, Donnie Smith, Travis Willey, David
Denbow, Michael Crabtree, and Stephen McFarland.



                                                    /s/ David A. Weyrens
Dated: 8/28/18                                      ____________________________________
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                                                    David A. Weyrens, Bar No. 4035
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                                                    /s/ Peter Marchesi
Dated: 8/28/18                                      ____________________________________
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